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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       CASE NO. 21-cr-190-DLF
               v.                             :
                                              :
ZACHARY JORDAN ALAM,                          :
                                              :
                       Defendant.             :


         GOVERNMENT’S SUPPLEMENTAL SENTENCING MEMORANDUM

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this supplemental sentencing memorandum in

connection with the above-captioned matter. The government previously provided the Court with

a supplemental sentencing memorandum addressing the U.S. Supreme Court’s decision in Fischer

v. United States, 144 S. Ct. 2176, 2181 (2024) and its lack of impact on Defendant Alam’s guideline

calculations. See ECF No. 133. The government had also previously outlined why a departure under

§§3A1.4, Note 4, 5K2.7 and 5K2.14 and/or a variance is warranted in this case. See ECF No. 123

at 28-38. For the reasons set forth herein, the government requests that this Court also consider the

below basis for departing and varying.

  I.   Supplemental Argument

       As the government has previously noted, the Guidelines expressly state that an upward

departure is warranted where a case presents a circumstance that “may not have been adequately

taken into consideration in determining the applicable guideline range” or that “the Commission

has not identified in the guidelines but that nevertheless is relevant to determining the appropriate

sentence.” U.S.S.G. § 5K2.0(a)(2). The Guidelines also provide that a departure is warranted when

an offense results in “a significant disruption of a governmental function” and the Guidelines do
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not reflect the appropriate punishment for the offense. U.S.S.G. § 5K2.7. In such circumstances,

“the court may increase the sentence above the authorized guideline range to [1] reflect the nature

and extent of the disruption and [2] the importance of the governmental function affected.”

       The application of § 5K2.7 is unaffected post-Fischer and continues to be applied by judges

in January 6 prosecutions, as it should be in the present case.

       It is not hyperbole to call what happened on January 6 a crime of historic magnitude. As

judges of this district have repeatedly and clearly stated, January 6 was an unprecedented

disruption of the nation’s most sacred function—conducing the peaceful transfer of power “The

events that occurred at the Capitol on January 6th will be in the history books that our children

read, our children’s children read, and their children’s children read. It's part of the history of this

nation, and it’s a stain on the history of this nation.” United States v. Miller, 21-CR-75-RDM, Sent.

Tr., at 67. But just as the history books will describe the crimes of January 6, so will they tell the

story of how this nation responded. Future generations will rightly ask what this generation did to

prevent another such attack from occurring. The damage done to this country on January 6 must

be reflected in the sentences imposed on those who caused the damage—it must not be treated as

just another crime.

   •   “The security breach forced lawmakers to hide inside the House gallery until they could be
       evacuated to undisclosed locations. In short, the rioters’ actions threatened the peaceful
       transfer of power, a direct attack on our nation's democracy.” United States v. Fitzsimons,
       21-CR-158-RC, Sent. Tr., at 85-86.
   •   “But what a dangerous precedent the attack on January 6 set. What a Pandora's Box it
       opened. We still don't [know] how corrosive it will prove to be to our constitutional order,
       at least until we have reestablished the practice of a peaceful transfer of power. United
       States v. Sparks, 21-CR-87-TJK, Sent. Tr. at 94.

Indeed, even before Fischer, judges of this Court gave significant upward departures and/or

variances in January 6 cases when they found the advisory guideline range inadequate. See, e.g.,

United States v. Hale-Cusanelli, 21-CR-37-TNM, 9/22/22 Sent. Tr.; United States v. Christian
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Secor, 21-CR-157-TNM, 10/19/22 Sent. Tr.; United States v. Hunter and Kevin Seefried, 21-CR-

287-TNM. 10/24/22 Sent. Tr.; United States v. William Watson, 21-CR-513-RBW, 3/9/23 Sent.

Tr.; United States v. Riley Williams, 21-CR-618-ABJ, 3/23/23 Sent. Tr.; United States v. Hatchet

Speed, 22-CR-244-TNM, 5/8/23 Sent. Tr; United States v. John Sullivan1, 21-cr-77-RCL,

4/26/24 Sent. Tr. at 33-34.

       And several judges of this Court have upwardly departed in January 6 cases precisely

because in a post-Fischer world, the advisory guideline range did not adequately take into account

all of the relevant circumstances. See United States v. Eicher, 22-cr-38 (BAH), Sent. Tr. 9/15/23

at 50 (applying § 5K2.7 because the defendant “join[ed] a mob, in the center of the melee, and

through the sheer numbers and aggressive conduct towards police, breached the Capitol resulting

in stopping the legitimate business of Congress for hours”); United States v. Black, 21-CR-127-

ABJ, Sent. Tr. 5/16/23 at 27 (applying an upward departure pursuant to § 5K2.7 for a January 6

rioter); United States v. Michael Oliveras, 21-cr-718-BAH (also applying an upward departure

pursuant to § 5K2.7 for a January 6 rioter).

       Recently, in United States v. Sparks, 21-CR-87-TJK, Judge Kelly sentenced a defendant

convicted of violating both 18 U.S.C. § 1512(c)(2) and 18 U.S.C. § 231. Prior to sentencing, in

light of the Supreme Court’s Fischer decision, the government moved to dismiss the § 1512(c)(2)

count, and at sentencing, Sparks faced an advisory guideline range of 15-21 months. Judge Kelly

found it important that despite the dismissal of the § 1512(c)(2) count, the defendant’s conduct

still included “an intent to obstruct or interfere with that proceeding, that important constitutional




1
 Of note, Sullivan was present with Alam at the Speaker’s Lobby, but did not assault officers as
Alam did. Sullivan filmed Alam’s actions at the House Main Doors and Speaker’s Lobby and, as
Alam began kicking the doors and smashing out the windowpanes, Sullivan actively cheered
Alam on and encouraged him and other rioters to continue their destructive behavior.
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proceeding” which the court found to be “pretty dark behavior” which “posed a threat to whether

our constitutional process will proceed or whether a mob would interfere with that process.” Sparks

Sentencing Tr., at 87-88. The court found that the “typical person convicted of [18 U.S.C. § 231]

engaged in nothing at all like the attack on the Capitol and the certification.” Id. at 94-95. Because

Sparks’ advisory guideline range was driven by the § 231 conviction, that range did not “account

for the defendant’s intent to obstruct, not just law enforcement officers doing their duty under that

statute, but a proceeding, or for the purposes of [U.S.S.G. §] 5K2.7, a governmental function. And

not any proceeding, but one foundational to our country’s governance.” Id. at 93. The court found

Sparks’ intent to “interfere or obstruct with the electoral college vote certification . . . plays an

important role in explaining why” Sparks’ advisory guideline range did not fully account for his

criminal conduct. Id. at 94. Accordingly, the court found a significant upward departure was

warranted under both U.S.S.G. §§ 5K2.7 and § 5K2.21, and in the alternative a variance of equal

amount was warranted under the § 3553(a) factors, and sentenced Sparks to 53 months of

imprisonment.

       Similarly, in United States v. Robertson, 21-CR-34-CRC, Judge Cooper resentenced a

defendant after dismissal of a § 1512(c)(2) conviction post-Fischer. Without that conviction, the

court determined that a new advisory guideline range of 37 to 46 months applied. See Robertson

Sent. Tr., at 59. But the court also found that an upward departure was appropriate pursuant to

U.S.S.G. § 5K2.7, because Robertson’s conduct “resulted in a significant disruption of a

governmental function, namely halting of the certification . . . and that is so regardless of whether

Section 1512(c) applies.” Id. at 61. The court also found an upward departure appropriate under

U.S.S.G. § 5K2.0 because Robertson’s conduct was “more harmful or egregious than the typical

case represented by the otherwise applicable guideline range.” Id. After considering the § 3553(a)
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factors, Judge Cooper sentenced Robertson to 72 months of imprisonment.

       And in United States v. Dunfee, 23-CR-36-RBW, Judge Walton sentenced a defendant on

a § 231 conviction and a misdemeanor, after his § 1512(c)(2) conviction was dismissed in light of

Fischer. Judge Walton found an upward departure was warranted under U.S.S.G. § 5K2.7, because

Dunfee’s actions contributed to and resulted in a significant disruption of the certification of the

electoral college vote. Moreover, noting that “the Sentencing Commission did not contemplate the

circumstances that occurred on January 6,” the court also found that a departure was warranted

under U.S.S.G. § 5K2.0(2) because Dunfee’s criminal conduct related to “the attempt by a large

number of individuals, including the defendant, to stop the peaceful transfer of power.” See United

States v. Dunfee, 23-CR-36-RBW, ECF No. 90, at 2. From an advisory range of 18-24 months, the

court sentenced Dunfee to 30 months of imprisonment.

       Because the seriousness of defendant’s crime is not adequately captured by the applicable

Guideline, an upward departure is appropriate here as well. If the Court declines to depart, an

upward variance is warranted. An upward variance is appropriate when “the defendant’s conduct

was more harmful or egregious than the typical case represented by the relevant Sentencing

Guidelines range.” United States v. Murray, 897 F.3d 298, 308–09 (D.C. Cir. 2018) (cleaned up).

While the Supreme Court’s decision in Fischer has changed defendant’s advisory Guideline range,

“Fischer does not dictate the Court’s application of the 18 U.S.C. 3553(a) factors [because] the

Court may still consider [defendant’s] serious conduct on January 6th, 2021 in its entirety. To

reduce [defendant’s] sentence . . . would require this Court to take a drastically different view of

[defendant’s] conduct.” United States v. Hostetter, 21-CR-392-RCL, ECF 507, at 4-5 (cleaned up).

Indeed, “Fischer does not mean that I cannot consider at sentencing evidence that establishes that

the defendant intended to obstruct Congress’ certification of the electoral vote in determining
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whether . . . the resulting guideline range fully accounts for the criminal conduct.” Sparks

Sentencing Tr. at 95. See also United States v. Kelly, 21-CR-708-RCL, ECF 151, at 5 (“Nothing

about Fischer or any hypothetical outcome of [defendant’s] appeal bears directly on the severity

of his conduct on January 6th . . . . Likewise, the outcome in Fischer would not dictate the Court’s

application of the sentencing factors prescribed in 18 U.S.C. § 3553(a)”); United States v. Jensen,

21-CR-6-TJK, Sent. Tr. at 16 (“given the importance and the significance of the proceeding of

certifying the Electoral College votes, I would vary upward -- even if this [sentencing

enhancement] didn't apply, I would vary upward when considering the nature of the offense.”)

        In past sentencings such as United States v. Reffitt, 21-CR-87-DLF this court has made

clear its view that January 6 is not “run of the mill” and, in United States v. Calhoun, 21-CR-116-

DLF, “simply saying, yeah, I know I trespassed, I trespassed, that’s not really capturing the impact

of what that day meant when all of those members of Congress met there to fulfill their

constitutional duty.” United States v. Calhoun, 21-CR-116-DLF, Sent. Tr. at 85.) Those were not

merely empty words—they were a recognition of the seriousness and unprecedented nature of the

riot.

        In addition to departing upwards, other courts, including this Court, have varied upward

from the advisory guideline range specifically because of the unique and serious nature of the

crimes committed that day; this Court should do no less in this present case. See United States v.

Reffitt, 21-CR-87-DLF, Mem. Op. and Order 4/10/24 at 10-11 (upward variance would be justified

because “as other judges in this district have noted, the proceedings at issue on January 6, 2021

were of much greater significance than run-of-the-mill ‘judicial, quasi-judicial, and adjunct

investigative proceedings’”); United States v. Fonticoba, 21-CR-368-TJK, Sent’g Tr. 1/11/24 at

66–67 (stating that, even if the defendant’s § 1512 conviction were invalidated, a significant
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upward variance was warranted to account for the defendant’s intent “to obstruct the proceeding

and the nature of the proceeding itself”); United States v. Secor, 21-CR-157-TNM, Sent. Tr.

10/19/22 at 53 (“I believe both the seriousness of the event — you obstructed the certification of

an official proceeding — and your particular role in it . . . require a significant upward variance”);

United States v. Hale-Cusanelli, 21-CR-37-TNM, Sent. Tr. 9/22/22 at 87 (“I also believe the

extensive damage and injuries caused on January 6th with your fellow rioters require additional

punishment beyond what my [guideline] calculation allows.”). 2

       In this case, the government submits that an upward variance and/or departure of 136

months is warranted to reach an appropriate sentence. 3

                                               Respectfully submitted,

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                                               By:    /s/ Rebekah Lederer
                                                      REBEKAH LEDERER

2
  The D.C. Circuit has made clear that it “ordinarily presume[s] a district court imposing an
alternative non-guidelines sentence took into account all the factors listed in § 3553(a) and
accorded them the appropriate significance.” United States v. Warren, 700 F.3d 528, 533 (D.C.
Cir. 2012) (quoting United States v. Ayers, 428 F.3d 312, 315 (D.C. Cir. 2005)). But as recently
discussed in United States v. Iracks, 2024 WL 3308241 (D.C. Cir. July 5, 2024), for a sentence
above the applicable Guidelines range, the Sentencing Reform Act provides that the district court
must state “the specific reason for the imposition of a sentence different from that described [in
the Guidelines,]” both orally during the sentencing and on a written form appended to the
judgment. 18 U.S.C. § 3553(c)(2) (emphasis added). Accordingly, the government requests that
the Court make specific findings that this defendant’s “conduct was more harmful or egregious
than the typical case represented by the relevant Sentencing Guidelines range” and “explain why
the otherwise applicable Guidelines calculation ‘does not fully account for the described criminal
conduct.’” United States v. Brown, 892 F.3d 385, 404–05 (D.C. Cir. 2018) (quoting Brown, 808
F.3d at 867, 872 (D.C. Cir. 2015)).
3
  Pursuant to USSG § 5G1.2(d), where the sentence to be imposed exceeds the statutory maximum
of any one count, then the remainder of the sentence shall run consecutively, to the extent needed
to produce a combined sentence equal to the total punishment.
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